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 F.#2010R00153

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 - - - - - - - - - - - - - - X

 UNITED STATES OF AMERICA

       - against -                              No. 11 CR 30 (SLT)

 ANDREW RUSSO, et al.,

                   Defendants.

 - - - - - - - - - - - - - - X




                 MEMORANDUM OF LAW IN SUPPORT OF THE
        GOVERNMENT’S MOTION FOR PERMANENT ORDERS OF DETENTION




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                           PRELIMINARY STATEMENT

             The government hereby moves for permanent orders of

 detention with respect to the following defendants, each of whom

 is a member or associate of the Colombo organized crime family of

 La Cosa Nostra (the “Colombo family”): Andrew Russo, Benjamin

 Castellazzo, Richard Fusco, Dennis Delucia, Reynold Maragni,

 Anthony Russo, Daniel Capaldo, Emanuele Favuzza, Joseph Savarese,

 Ralph Scopo, Jr., Ilario Sessa, Michael Castellano, Giuseppe

 Destefano, Anthony Durso and Scott Fappiano.

             As further described below, each of these defendants

 poses a danger to the community and a risk of flight, and should

 therefore be detained pending trial.1




       1
           The government makes this motion without prejudice to
 making additional arguments in support of the detention of any of
 the defendants whose detention the government seeks in this
 motion, and without prejudice to seeking a permanent order of
 detention against other defendants indicted in this or related
 matters.

                                       1
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                                  BACKGROUND

              The government proffers the following facts concerning

 the charges at issue and pretrial detention.2          See United States

 v. LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000) (the

 government is entitled to proceed by proffer in a detention

 hearing); United States v. Ferranti, 66 F.3d 540, 542 (2d Cir.

 1995) (same); United States v. Martir, 782 F.2d 1141, 1145 (2d

 Cir. 1986) (same).3

              The proffer includes a brief description of the

 following:    (1) the government’s investigation of the Colombo

 family and the defendants; (2) the defendants’ association with,

 and positions in, the Colombo family; and (3) the defendants’


       2
           The proffer of facts set forth herein does not purport
 to provide a complete statement of all facts and evidence of
 which the government is aware or that it will seek to introduce
 at trial.
       3
              As the Second Circuit has explained:

              [I]n the pre-trial context, few detention
              hearings involve live testimony or cross
              examination. Most proceed on proffers. See
              United States v. LaFontaine, 210 F.3d 125,
              131 (2d Cir. 2000). This is because bail
              hearings are “typically informal affairs, not
              substitutes for trial or discovery.” United
              States v. Acevedo-Ramos, 755 F.2d 203, 206
              (1st Cir. 1985) (Breyer, J.) (quoted
              approvingly in LaFontaine, 210 F.3d at 131).
              Indeed, § 3142(f)(2)(B) expressly states that
              the Federal Rules of Evidence do not apply at
              bail hearings; thus, courts often base
              detention decisions on hearsay evidence. Id.

 United States v. Abuhamra, 389 F.3d 309, 320 n.7 (2d Cir. 2004).

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 involvement in the charged criminal activity, with particular

 attention to the charged crimes of violence.

 I.    Overview of the Investigation

             The Indictment is the most recent result of a long-term

 investigation by this Office, the Federal Bureau of Investigation

 and other law enforcement agencies into the ongoing criminal

 activities of the Colombo family.         The present charges are the

 product of the government’s use of a diverse array of

 investigative tools, including hundreds of hours of recordings

 made by cooperating witnesses over the past three years of many

 of the defendants discussing a variety of criminal activities,

 including murder.      Notably, these recordings unequivocally make

 clear that the Colombo family is thriving and continues to engage

 in various crimes including, among others, robbery, narcotics

 trafficking, fraud, extortion and loansharking.

 II.   The Defendants Are Members or Associates
       of the Colombo Family

             Every one of the charged defendants is a member or

 associate of La Cosa Nostra (“LCN”) -- a violent criminal

 enterprise responsible for numerous murders.

       A.    The Defendants’ Positions in the Colombo Family

             The government will establish the defendants’ positions

 within the Colombo family through consensual recordings, wiretap




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 intercepts4 and the testimony of cooperating witnesses, as well

 as surveillance evidence and physical evidence.

              As alleged in the Indictment, the defendant Andrew

 Russo currently serves as the street boss of the Colombo family,

 Benjamin Castellazzo currently serves as the acting underboss and

 Richard Fusco currently serves as the consigliere.           Joseph Carna,

 Dennis Delucia, Reynold Maragni and Anthony Russo hold senior

 leadership positions as captains or acting captains.            In

 addition, Daniel Capaldo, Emanuele Favuzza, Vincent Febrraro,

 John Maggio, Theodore Persico, Jr., Nicky Rizzo, Joseph Savarese

 and Ralph Scopo, Jr., are “made” members of the Colombo family.

 With five exceptions, the remainder of the defendants charged in

 the above-captioned case are associates of the Colombo family.5

       B.     The Induction Ceremony Scheduled for December 7, 2010

              The consensual recordings also make clear that the

 Colombo family continues to induct new members.           For example, at

 a secret ceremony in January 2009, defendants Capaldo, Favuzza,

 Maggio, Anthony Russo and Savarese – along with one other

 individual – were inducted into the Colombo family.            The Colombo


       4
           The government hereby provides the defendants with
 notice, pursuant to 18 U.S.C. § 2518(9), of the government’s
 intent to rely on wiretap evidence gathered pursuant to court-
 authorized wiretaps in the prosecution of this matter.
       5
              The defendant Giovanni Galluzzo is a Luchese family
 associate.     The defendant John Dunn is a Gambino family
 associate.     The defendant Hector Pagan is a Bonanno family
 associate.     Vito Vizzi and Joseph Dimarco are LCN associates.

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 family intended to hold another such ceremony at defendant

 Favuzza’s residence on December 7, 2010.          Defendant Ilario Sessa

 and three others were slated to be inducted into the Colombo

 family on that date with the assistance of, among others,

 defendants Castellazzo and Anthony Russo.          Much to Sessa’s

 chagrin, as evidenced on consensual recordings made by a

 cooperating witness, the induction ceremony was canceled after

 agents of the FBI identified the location where the ceremony was

 to be held and conducted surveillance.

             The events leading up to the scheduled ceremony and the

 aftermath of its cancellation were vividly captured on consensual

 recordings.     In a consensual recording made on December 5, 2010,

 Colombo family acting captain Anthony Russo and a cooperating

 witness (“CW-1”) drove to Sessa’s residence, where Anthony Russo

 engaged in a private conversation with Sessa.          Following their

 private conversation, Anthony Russo and Sessa separately told

 CW-1 that the ceremony at which Sessa would be inducted in the

 Colombo family would occur that week.         CW-1 also observed Sessa

 give Anthony Russo two plastic bags, one of which CW-1 later

 learned contained the firearm to be used in Sessa’s induction

 ceremony.    Anthony Russo and CW-1 then departed Sessa’s residence

 and traveled to Favuzza’s residence, where Anthony Russo dropped

 off the firearm.     The following day, Sessa commented to CW-1

 about his embarrassment at having to “bring his own” firearm to


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  his own induction ceremony.       Sessa explained to CW-1 that he had

  “three of these things . . . [U/I] .357 and a .38.”

              On the evening of December 6, 2010, the Colombo family

  canceled the ceremony due to law enforcement surveillance.            In

  light of the cancellation, Anthony Russo directed Sessa to

  retrieve the firearm he provided for the ceremony from Favuzza

  and Castellazzo.     On a consensual recording, Sessa complained:

              What do you think happened, the whole thing’s
              [the ceremony] dead . . . I had to back and
              get my thing [the firearm] . . . the whole
              thing is dead, everybody . . . I don’t know,
              it came from Anthony [Russo] . . . Anthony
              comes meets me in Brooklyn, says I gotta tell
              you something . . . I figure he’s gonna tell
              me what time [i.e., the time of the induction
              ceremony], find out what time . . . dead
              hand . . . that things no good go get
              it . . . pistol, you want a different
              one? . . . the whole thing’s dead, no
              good . . . it’s coming from this guy [Andrew
              Russo] . . . who he met . . . mumbling
              something about this guy . . . I don’t
              know . . . [Anthony] makes me go all the way
              back to the place [Favuzza’s residence] to
              get the pistol . . . I didn’t want to
              start . . . I got three felonies too . . . I
              went back there, took care of
              that . . . didn’t say it [the ceremony] was
              postponed or anything, said it’s dead
              . . . didn’t say postponed or dead said go
              back and get the gun . . . I said what’s
              happening . . . this guy [Andrew Russo] shut
              it down, closed down or stopped it
              completely.

  To date, Sessa and the other men proposed for induction at the

  December 2010 ceremony have not been inducted into the Colombo

  family.


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  III. The Defendants Are Charged With Crimes of Violence

              With the exception of Michael Castellano, each of the

  defendants for whom the government seeks pretrial detention is

  charged with one or more crimes of violence.          The following are

  brief summaries of the facts underlying some of the charges

  against these defendants.

        A.    Murder of Joseph Scopo

              As alleged in Count One (Racketeering Act One) of the

  Indictment, the defendant Anthony Russo is responsible for the

  1993 murder of Joseph Scopo.6       Joseph Scopo was murdered as he

  got out of the passenger seat of a vehicle parked in front of his

  residence in Ozone Park, Queens on October 20, 1993.           Scopo was

  killed in connection with the Colombo family war, during which

  the Colombo family split into two feuding factions, one loyal to

  Victor “Vic” Orena and the other loyal to Carmine “the Snake”

  Persico.    Joseph Scopo, who at the time of his murder was the

  underboss of the Colombo family and affiliated with the Orena

  faction, was the final Colombo family war casualty.

              On multiple consensual recordings, Anthony Russo

  admitted his participation in the Scopo murder.          For example, in

  one recording, Anthony Russo explained to a cooperating witness,




        6
            In November 1999, Colombo family associate John Pappa
  was convicted, after trial, of the Scopo murder.

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  CW-1, that he was in a nearby vehicle while Colombo family

  associate John Pappa fatally shot Joseph Scopo:

              Anthony Russo: I had my hat on. Hat flew
                             off. I ain’t kidding. And my
                             side window [U/I]

              CW-1:            [U/I]

              Anthony Russo: It came off. It came off. BF
                             was in the backseat. He said,
                             “What the fuck?” Are you
                             crazy! I jumped out of the
                             car. I was like a fuckin’ mad
                             hatter. I didn’t know what to
                             do. I started beep, beep,
                             beep, beep.

              CW-1:            What was [U/I] doing?

              Anthony Russo: Guy’s up the block. I emptied
                             out. You know what it is, the
                             fucking? From behind?

              CW-1:            I got shot.

              Anthony Russo: Do you know what it is to get
                             it from behind.

              Anthony Russo: He [BF] was laughing
                             hysterical in the back. You
                             ever see a friend laughing?
                             [Laughing]

              CW-1:            Yeah, cause his hat didn’t
                               come off.

              Anthony Russo: No, cause he [BF] was in the
                             car behind.

        B.    Robbery - Staten Island Residence

              As alleged in Count One (Racketeering Act Thirty-

  Three), Count Two (Racketeering Act Fifteen) and Count Forty of

  the Indictment, the defendants Scott Fappiano, Anthony Russo and

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  Joseph Savarese conspired to commit a violent home-invasion

  robbery of a legitimate businessman who was rumored to have $25

  million in cash in his residence.        Fappiano advised CW-1 about

  the potential “score” and asked CW-1 if he wanted to participate.

  When Savarese learned of the scheme, Savarese told another

  cooperating witness (“CW-2”) that he had two handguns, a .38

  caliber and a .45 caliber, and could get “bigger shit” if needed.

  Savarese later advised that he also had bulletproof vests that

  they could use.     Anthony Russo later suggested that they use a

  “bogus” license plate to avoid detection by law enforcement.

        C.    Extortion

              1.    Conspiracy to Extort the Gambino Family

              As alleged in Count One (Racketeering Act Thirty-Four),

  Count Two (Racketeering Act Sixteen) and Count Forty-One, the

  defendants Andrew Russo, Castellazzo, Delucia, Fusco and Anthony

  Russo conspired to extort members and associates of the Gambino

  family of money to pay for medical care and other expenses

  incurred by Colombo family associate Walter Samperi.           On May 16,

  2010, Samperi was stabbed by an individual affiliated with the

  Gambino family.     To compensate, members of the Colombo family

  initiated a formal dispute, or “beef,” with a member of the

  ruling panel of the Gambino family.

              After a series of meetings, or “sit-downs,” with

  members of the Gambino family, the Colombo family administration


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  members and the New York City-based captains met at a residence

  in Staten Island, where they discussed, among other things, the

  dispute over Samperi.      The meeting was captured in a

  consensually-made recording.       Andrew Russo, as the street boss of

  the Colombo family, presided over the meeting.          At the outset,

  Andrew Russo admonished Anthony Russo and the others present that

  they should not attend a sit-down with another LCN family without

  first alerting the Colombo family administration.           With respect

  to the stabbing of Samperi, Andrew Russo observed that they

  should have first “g[o]t even” and then initiated discussions

  with the Gambino family.

              The administration and the captains then discussed a

  variety of ways to obtain compensation for Samperi.           They

  ultimately agreed that, in exchange for their promise not to

  retaliate, the Colombo family would require the Gambino family to

  make a one-time payment of $150,000, $100,000 of which was to

  come from the Gambino family’s “basket” from the “feast,” a

  reference to an annual Italian feast held in late August on 18th

  Avenue in Brooklyn, the Figli di Santa Rosalia.7




        7
            Consensual recordings made during the course of the
  investigation demonstrate that the Colombo family has controlled
  the Figli di Santa Rosalia for several years.

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              2.     Extortion of a Gambling Club in the Bronx

              As alleged in Count Two (Racketeering Act Five) of the

  Indictment, the defendants Delucia and Sessa, as well as Colombo

  family associate “Phil,” who like Sessa was proposed to be

  inducted in the Colombo family, extorted a gambling club located

  in the Bronx.     On a consensual recording, Sessa explained to CW-1

  that Delucia had directed Sessa and Phil to go to a card club in

  the Bronx and to instruct the owners and operators of the card

  club that they could not operate their illegal card game such

  that it competed with Delucia’s card game.         Sessa explained that

  they went to the card club, wielding baseball bats and with Sessa

  carrying a gun.

              3.     Extortion Conspiracy - Container Seller

              As alleged in Count Two (Racketeering Act Six) of the

  Indictment, the defendant Joseph Savarese is charged with

  attempting to extort the right to receive payment for the sale of

  containers.      Specifically, Savarese pistol-whipped an individual

  who sought payment on a set of containers that had been delivered

  to an associate of Savarese.       On a consensual recording, Savarese

  explained that he assisted an individual who had purchased a

  “hundred-something containers,” but refused to pay the agreed-

  upon price for the containers.       Savarese admitted that, after the

  seller tried to collect “his money” from the individual, Savarese

  pistol-whipped the seller.       Savarese explained that he later


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  heard through organized crime channels that the seller wanted to

  meet with Savarese, but Savarese refused to meet regarding the

  dispute unless a “friend,” or an inducted member of LCN, reached

  out to Savarese.

              4.    Extortion - Local 6A

              As alleged in Count Two (Racketeering Act One), Count

  Three and Count Four of the Indictment, the defendant Ralph

  Scopo, Jr. (“Scopo”), extorted members of the Laborers’

  International Union of North America (“LIUNA”), Local 6A, through

  his control of Local 6A and the construction companies at whose

  sites Local 6A members work.       Historically, the Colombo family --

  and more specifically the Scopo family -- has controlled the

  election of officers and delegates, and the awarding of LIUNA

  membership cards for friends, family and criminal associates of

  the Colombo family notwithstanding a lack of qualifications or

  completion of an apprenticeship program.         As alleged in Count Two

  (Racketeering Act Two), Count Five and Count Six of the

  Indictment, Scopo also profited from his control of Local 6A by

  extorting those who obtained “coffee boy” positions, that is, the

  individuals who sold coffee and snacks to the union members.             In

  exchange for the position, the coffee boy had to provide half of

  the profits from his total sales to Scopo.




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               5.   Extortion - John Doe #14

               As alleged in Count One (Racketeering Act Thirty-Seven)

  and Count Two (Racketeering Act Eighteen) of the Indictment, the

  defendants Anthony Russo, Joseph Savarese and Giuseppe Destefano

  extorted John Doe #14 to prevent him from keeping open a gambling

  club that Russo and Savarese deemed too close to their gambling

  clubs.     Before the assault, Russo commented, “I don’t care if we

  have to hunt him all night. . . .         Crack him in the fucking mouth

  and give him a beat down.”       Thereafter, Anthony Russo, Savarese

  and Destefano assaulted John Doe #14.         Subsequently, in

  anticipation of retaliation by John Doe #14, the following Friday

  (the next day John Doe #14 was scheduled to hold a competing card

  games), Anthony Russo proposed: “Get everybody loaded up.            They

  come in, we shoot the shit out of them.”

        D.     Loansharking

               1.   Loansharking Conspiracy - John Doe #11

               As alleged in Count One (Racketeering Act Thirty-Two),

  Count Two (Racketeering Act Thirteen) and Count Thirty-Eight of

  the Indictment, the defendants Scott Fappiano and Reynold Maragni

  conspired to use extortionate means to collect a debt owed by

  John Doe #11.     On a consensual recording made by CW-1 in March

  2010, Fappiano explained:

               I might need you . . . if I do it I’ll go to
               jail . . . spoke to Reynold [Maragni] . . .
               I want to be diplomatic . . . it gets to the
               point where he may have to get his fucking

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              leg broken . . . I’ll make sure I’m in court
              somewhere or doing a deposition . . . the
              last time I was in Punta Cana when they went
              to get him, he called the cops . . . he seen
              him coming.

  Fappiano later provided CW-1 with a slip of yellow paper that

  listed the debtor’s name, business address, mother’s address and

  other identifying information so that CW-1 could locate, assault

  and collect gambling losses owed by John Doe #11.

              2.    Loansharking - John Doe #15 and John Doe #17

              As alleged in Count One (Racketeering Acts Thirty-Nine

  and Forty-One), Count Two (Racketeering Acts Twenty-Two and

  Twenty-Four), Count Forty-Seven, Count Forty-Eight, Count Fifty

  and Count Fifty-One of the Indictment, the defendants Anthony

  Durso, Giovanni Galluzzo, Anthony Russo and Ilario Sessa

  variously used extortionate means to attempt to collect debts

  owed by John Doe #15 and John Doe #17.         On a consensual

  recording, Anthony Russo mentioned that he had received a message

  from an incarcerated Colombo family soldier, who asked for

  Russo’s assistance in collecting outstanding loanshark debts,

  including debts owed by John Doe #15 and John Doe #17.            Anthony

  Russo explained that, at his direction, Sessa and Durso, while

  Galluzzo stood guard, assaulted John Doe #15 when he claimed not

  have the money.     Sessa stated that at one point during the

  assault, he held a knife to the face of John Doe #15.           Also at

  the direction of Anthony Russo, Sessa confronted John Doe #17 in


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  an attempt to collect a debt he owed.         Sessa later observed to

  CW-1 that he would put John Doe #17 “in the hospital.”

              3.      Loansharking Conspiracy - John Doe #19

              As alleged in Count One (Racketeering Act Forty-Three),

  Count Two (Racketeering Act Twenty-Seven) and Count Fifty-Five of

  the Indictment, the defendants Reynold Maragni and Anthony Russo

  conspired to use extortionate means to collect a debt owed by

  John Doe #19.    On a consensual recording, Maragni explained to

  CW-1:

              MARAGNI:          We’re gonna grab someone when
                                I come up. This kid Vincent.
                                He’s got a surveying company.
                                When we had the conversation,
                                everything this kid. We’re
                                gonna kick the shit out of
                                him.

              MARAGNI:          I’ll talk to Anthony [Russo]
                                when I come up.

              CW-1:             You mean about your situation.

              MARAGNI:          There was a settlement. I
                                settled for 20. They were
                                supposed to live up to his end
                                of the bargain. 13. Supposed
                                to give me the other seven.
                                Time share thing. 400 per
                                month. I told him two days, I
                                spoke to you, he gave you me
                                word. Now I don’t want to
                                talk to you any more. Now I
                                want the whole 40. The time
                                share, I want the whole
                                fuckin’ thing. That’s another
                                $25,000. Either you give me
                                the money. I’m gonna abuse
                                Stevie Mad Dog. I want to be
                                introduced to him.

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  In a subsequent consensual recording, Maragni provided CW-1 with

  additional identifying information for John Doe #19 and asked

  CW-1 to threaten this individual and tell him he better start

  paying his debt.     Therafter, CW-1 told Anthony Russo about

  Maragni’s request, and Anthony Russo agreed to pursue the matter.

              4.    Loansharking - John Doe #20

              As alleged in Count Two (Racketeering Act Seven) of the

  Indictment, the defendants Dennis Delucia and Joseph Savarese

  used extortionate means to collect a debt owed by John Doe #20.

  Savarese admitted his participation in a consensual recording:

              But in the summertime, we came an agreement
              with this cocksucker, Louis Ganoli. I beat
              him up over here, like, last year. I was
              pounding him for the money, talking to him a
              couple times. I sent for him a couple of
              times. He came over here to meet me. Larry
              [Sessa] was just pulling up and got out of
              the car. We gave him a beating right there.
              Larry jumped out of the car, we both beat him
              up. Then he left. Then the son got in
              touch. The son told me that I don’t want my
              father to get hurt again, I wanna pay. I
              said, alright. I told him to pay, that’s the
              only way he’s not going to get hurt again.
              The figure was 13,000. They had a guy from
              the West side, a goodfellow from the West
              side. Reached out to Dennis [Delucia]. Told
              Dennis that he wanted to straighten it out.
              Told the kid Dennis, will you take 8,000.
              Dennis said yeah. He says, alright; he gave
              the money to Dennis. Dennis gave the money
              to me. And I gave the money to Christina.
              That’s the only money that. I never sent
              money to the account.




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        E.     Bribery Scheme

               As alleged in Count Two (Racketeering Act Fourteen) and

  Count Thirty-Nine of the Indictment, the defendant Reynold

  Maragni engaged in a scheme to attempt to bribe a public servant

  in the State of Florida to cause the commutation of the sentence

  of a relative of a cooperating witness who had been sentenced to

  a lengthy term of imprisonment.        On a consensual recording,

  Maragni explained that the amount of the bribe “could be anywhere

  from 25 to 50,” and later added that his contact “m[ight] turn

  around and tell me 100.”      Maragni vowed, “I’m gonna do everything

  I can, to let him agree to take as least amount as I can.”

               In September 2010, CW-1 traveled to Florida to meet

  with Maragni, who told CW-1 that during the previous day, Maragni

  had met his contact, whom he described as a lawyer, for three

  hours.     Maragni said that his contact asked for $80,000 to

  $85,000 to help CW-1’s relative.          Maragni later told CW-2 that

  the agreed-upon bribe was $80,000, to be paid in three

  installments.

               In November 2010, on behalf of CW-1, CW-2 provided

  $25,000 to Maragni, representing the first of three planned

  payments.    However, when Maragni subsequently advised CW-1 that

  he would not deliver the bribe money to his contact for several

  weeks, CW-1 requested that Maragni return the money, and Maragni

  agreed.    In furtherance of the bribery scheme, Maragni traveled


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  between Florida and New York and New Jersey, in addition to using

  facilities in interstate commerce.

        F.    Fraud - MoneyGram

              As alleged in Count One (Racketeering Acts Fifteen to

  Eighteen) and Counts Ten to Fourteen of the Indictment, the

  defendants Michael Castellano and John Rossano engaged in a

  scheme to defraud MoneyGram of more than $1.5 million.            To

  effectuate the scheme, Castellano placed numerous calls to

  MoneyGram, posing as employees of MoneyGram outlets, to arrange

  for the transmission of MoneyGram money orders.          In each of the

  calls, Castellano provided the outlet’s pin number.           Rossano and

  Castellano, together with others, then traveled to MoneyGram

  outlets in various states to collect these money orders.            To pick

  up the orders, the coconspirators presented fraudulent

  identification documents.

                                  DISCUSSION

  I.    Legal Standard

        A.    Bail Reform Act

              Under the Bail Reform Act, 18 U.S.C. § 3141 et seq.,

  federal courts are empowered to order a defendant’s detention

  pending trial upon a determination that the defendant is either a

  danger to the community or a risk of flight.          See 18 U.S.C.

  § 3142(e) (“no condition or combination of conditions would

  reasonably assure the appearance of the person as required and


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  the safety of any other person and the community”).           A finding of

  dangerousness must be supported by clear and convincing evidence.

  See Ferranti, 66 F.3d at 542; United States v. Chimurenga, 760

  F.2d 400, 405 (2d Cir. 1985).       A finding of risk of flight must

  be supported by a preponderance of the evidence.          See United

  States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987); Chimurenga, 760

  F.2d at 405.

               The Bail Reform Act lists four factors to be considered

  in the detention analysis: (1) the nature and circumstances of

  the crimes charged, (2) the history and characteristics of the

  defendant, (3) the seriousness of the danger posed by the

  defendant’s release, and (4) the evidence of the defendant’s

  guilt.     See 18 U.S.C. § 3142(g).

        B.     Organized Crime Defendants

               Courts in this circuit have routinely faced the issue

  of pretrial detention of organized crime defendants charged with

  racketeering-related offenses.       See, e.g., United States v.

  Cirillo, Cr. No. 05-212 (SLT), slip op. (E.D.N.Y. 2005) (Genovese

  family acting bosses Dominick Cirillo and Lawrence Dentico, as

  well as Genovese family captain Anthony Antico, detained as

  dangers to the community), aff’d, 149 Fed. Appx. 40 (2d Cir.

  2005); United States v. Gotti, 219 F. Supp. 2d 296, 299-300

  (E.D.N.Y. 2002) (Gambino family acting boss Peter Gotti detained

  as danger to the community), aff’d, United States v. Ciccone, 312


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  F.3d 535, 543 (2d Cir. 2002); United States v. Agnello, 101 F.

  Supp. 2d 108, 116 (E.D.N.Y. 2000) (Gambino family captain Carmine

  Agnello detained as danger to the community); United States v.

  Defede, 7 F. Supp. 2d 390, 395-96 (S.D.N.Y. 1998) (Luchese family

  acting boss Joseph Defede detained as danger to the community);

  United States v. Salerno, 631 F. Supp. 1364, 1375 (S.D.N.Y. 1986)

  (Genovese acting boss and captain detained as danger to the

  community), order vacated, 794 F.2d 64 (2d Cir.), order

  reinstated, 829 F.2d 345 (2d Cir. 1987).

              Together, these cases stand, at the very least, for the

  following propositions: (1) leaders of a violent organized

  criminal enterprise are dangerous due to their position of

  authority in that enterprise; (2) organized crime defendants

  often constitute dangers to the community due to the high

  likelihood that they will continue to commit crimes if released

  on bail; and (3) elaborate bail packages involving home detention

  and electronic monitoring are insufficient safeguards to protect

  the community against dangerous organized crime defendants.

              1.    Organized Crime Leaders Are
                    Dangers to the Community

              Pretrial detention is warranted where defendants,

  charged with violent crimes, are leaders or high-ranking members

  of a criminal organization whose activities routinely include

  violence and threats of violence.         See Ciccone, 312 F.3d at 543;

  United States v. Colombo, 777 F.2d 96, 99-100 (2d Cir. 1985);

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  United States v. Bellomo, 944 F. Supp. 1160, 1166 (S.D.N.Y.

  1996).    Courts in this circuit have recognized that when

  organized crime depends on a pattern of violent conduct of the

  sort charged in this case, the risk to the community is

  substantial and justifies detention.

              For example, in Defede, Joseph Defede was charged with

  extortion and extortion conspiracy.        The district court ordered

  Defede’s pretrial detention, finding that the government had

  shown by clear and convincing evidence that Defede was the acting

  boss of the Luchese family, thus rendering him a danger to public

  safety:   “The acting boss of the Luchese family supervises all of

  its far-flung criminal activities, including acts of violence.

  Defede’s continued liberty therefore presents a substantial

  danger to the public . . . .”       Defede, 7 F. Supp. 2d at 395.

              More recently, a court in this District denied bail to

  the acting boss of the Genovese family who “participated at the

  highest levels in directing an organization alleged in the

  indictment to be committed to acts of violence to perpetuate its

  activities and insulate itself from detection by law

  enforcement,” Cirillo, slip. op. at 7, as well as a former acting

  boss who “is at the highest levels of the Genovese family,

  participating in highly secret induction ceremonies and sit-

  downs, and representing the family in important meetings,” id. at

  11.   The Second Circuit affirmed those findings by summary order.


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  See 149 Fed. Appx. at 43 (2d Cir. 2005) (“This court has affirmed

  the detention of the leaders of organized crime enterprises on

  the ground that their continued liberty presents a risk to the

  public not only from their own violent activities but from those

  of subordinates whom they supervise.”) (citing Ciccone, 312 F.3d

  at 543).

              In addition, to be detained as a danger to the

  community, an organized crime defendant need not be charged in

  specific predicate acts of violence; it is enough that his

  position is at the helm of a violent organization.           Ciccone, 312

  F.3d at 542-43; see also Ferranti, 66 F.3d at 543 (noting that

  the defendant need not have committed the violence himself; he

  can be deemed dangerous if he directed others to commit acts of

  violence) (citing Colombo, 777 F.2d at 98).          As one court has

  pointed out, an organized crime leader “is dangerous because

  inherent in the leadership position is the supervision of

  criminal activity that cannot be curtailed by any condition or

  combination of conditions of release.”         Gotti, 219 F. Supp. 2d at

  299-300 (citations omitted).

              To be sure, courts’ decisions to deny bail to organized

  crime leaders have not been based solely on the defendants’ mere

  “association” with organized crime, but rather on the evidence

  that members of organized crime, and in particular, high-ranking

  members of organized crime, routinely engage in acts of violence


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  as a result of their position in a criminal enterprise.            As the

  court held in Defede:

              [I]t is well established that persons who
              hold Defede’s status routinely engage in
              conduct that is a menace to public safety.
              The argument thus is based not on the status,
              but on the inference that a person in
              Defede’s position is quite likely to engage
              in dangerous conduct – just as one reasonably
              could infer that one holding the position of
              major league baseball pitcher is entirely
              likely to hurl a small white object in the
              direction of home plate.

  7 F. Supp. 2d at 392 n.4.

              Moreover, in enacting the Bail Reform Act, Congress

  recognized that certain defendants, such as high-ranking members

  of an organized crime family fall within a “‘small but

  identifiable group of particularly dangerous defendants as to

  whom neither the imposition of stringent release conditions nor

  the prospect of revocation of release can reasonably assure the

  safety of the community.’”       Colombo, 777 F.2d at 99 (quoting S.

  Rep. No. 225 98th Cong., 1st Sess. at 6-7, as reprinted in 1984

  U.S. Code Cong. & Admin. News 3182 (“Senate Report”), 3188-89).

              Nor is the above caselaw narrowly limited to organized

  crime “bosses” or “acting bosses.”        In Salerno, 631 F. Supp. at

  1374-75, the court held that a defendant would be a danger to the

  community if released on bail based on evidence that he was a

  captain in an organized crime family who managed the enforcement

  operations of the enterprise.       Likewise, in Colombo, a captain of


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  a crew in the Colombo family was ordered detained because the

  operation of that organization posed a risk to the public and a

  danger to the community by its “consistent pattern of

  orchestrating a series of violent criminal operations.”            777 F.2d

  at 99-100 (internal quotation marks omitted).

              2.    Organized Crime Defendants Are Likely
                    to Commit Crimes if Released on Bail

              Organized crime defendants also pose a particular

  threat to the community due to the continuing nature of the

  charged enterprise and its violent criminal activities.            At

  bottom, because organized crime defendants are career criminals

  who belong to an illegal enterprise, they pose a distinct threat

  to commit additional crimes if released on bail.          See Salerno,

  631 F. Supp. at 1375 (finding that the illegal businesses of

  organized crime require constant attention and protection, and

  recognizing a strong incentive on the part of its leadership to

  continue business as usual).

              In addition, defendants pose a danger to the community

  not only when they commit acts of violence, but when it is likely

  that they will commit even non-violent crimes that are

  detrimental to the community.       See Senate Report at 3195

  (“language referring to safety of the community refers to the

  danger that the defendant might engage in criminal activity to

  the detriment of the community . . . .         The Committee intends

  that the concern about safety be given a broader construction

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  than merely danger of harm involving physical violence.”).            In

  Colombo, the court held “[i]n light of Congress’ direction that

  ‘[w]here there is a strong probability that a person will commit

  additional crimes if released, the need to protect the community

  becomes sufficiently compelling that detention is, on balance,

  appropriate.’”     777 F.2d at 99 (quoting Senate Report at 3189).

  In Salerno, the court upheld the detention of two leaders of the

  Genovese organized crime family, noting:

              The activities of a criminal organization
              such as the Genovese Family do not cease with
              the arrest of its principals and their
              release on even the most stringent of bail
              conditions. The illegal businesses, in place
              for many years, require constant attention
              and protection, or they will fail. Under
              these circumstances, this court recognizes a
              strong incentive on the part of its
              leadership to continue business as usual.
              When business as usual involves threats,
              beatings, and murder, the present danger such
              people pose in the community is self evident.

  631 F. Supp. at 1375.

              3.    Elaborate Bail Packages Are Insufficient to
                    Protect the Community Against Violent
                    Organized Crime Defendants

              Finally, the Second Circuit repeatedly has rejected

  “elaborate” bail packages for dangerous defendants, including

  leaders of organized crime families shown to be involved in

  violent criminal activities.       See United States v. Dono, Nos. 07-

  5333-cr(L), 07-5334-cr(CON), 275 Fed. Appx. 35, 2008 WL 1813237,

  at *2-3 (2d Cir. Apr. 23, 2008) (rejecting conditions that


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  included, among others, home detention and electronic monitoring,

  and a requirement that the defendant’s father – a retired police

  officer – take “personal responsibility” for the defendant);

  Ferranti, 66 F.3d at 543-44 (rejecting $1 million bail secured by

  real property); United States v. Orena, 986 F.2d 628, 630-33 (2d

  Cir. 1993) (rejecting $3 million bail secured with real property,

  in-home detention, restricted visitation and telephone calls, and

  electronic monitoring); Colombo, 777 F.2d at 97, 100 (rejecting,

  among other conditions of release, $500,000 bail secured by real

  property).

               The Second Circuit has viewed home detention and

  electronic monitoring as insufficient to protect the community

  against dangerous individuals.       In United States v. Millan, the

  Second Circuit held that:

               Home detention and electronic monitoring at
               best elaborately replicate a detention
               facility without the confidence of security
               such a facility instills. If the government
               does not provide staff to monitor compliance
               extensively, protection of the community
               would be left largely to the word of [the
               defendants] that [they] will obey the
               conditions.

  4 F.3d 1039, 1049 (2d Cir. 1993) (internal citations and

  quotation marks omitted).       See also Orena, 986 F.2d at 632

  (“electronic surveillance systems can be circumvented by the

  wonders of science and of sophisticated electronic technology”)

  (internal citation and quotation marks omitted).


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              Similarly, courts in this district have denied

  dangerous defendants bail in recognition of the Second Circuit’s

  dim view of the effectiveness of home detention and electronic

  monitoring.    See, e.g., Dono, 2008 WL 1813237, at *2-3 (noting

  that the idea that “‘specified conditions of bail protect the

  public more than detention is flawed’”) (quoting Orena, 986 F.2d

  at 632); United States v. Cantarella, No. 02-CR-307 (NGG), 2002

  WL 31946862, at *3-4 (E.D.N.Y. Nov. 26, 2002) (adopting

  “principle” of “den[ying] bail to ‘dangerous’ defendants despite

  the availability of home detention and electronic surveillance

  and notwithstanding the value of a defendant’s proposed bail

  package”); Agnello, 101 F. Supp. 2d at 116 (Gershon, J.) (“the

  protection of the community provided by the proposed home

  detention remains inferior to that provided by confinement in a

  detention facility”); United States v. Masotto, 811 F. Supp. 878,

  884 (E.D.N.Y. 1993) (rejecting bail because “the Second Circuit

  appears to be saying to us that in the case of ‘dangerous

  defendants’ the Bail Reform Act does not contemplate the type of

  conditions suggested by this Court [including home confinement

  and electronic monitoring] and that, even if it did, the

  conditions would not protect the public or the community, given

  the ease with which many of them may be circumvented”).




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  II.   The Defendants Should Be Detained

        A.    The Defendants Are a Danger to the Community

              Defendants Andrew Russo, Castellazzo, Fusco, Delucia,

  Maragni, Anthony Russo, Capaldo, Favuzza, Savarese, Scopo, Sessa,

  Castellano, Destefano, Fappiano and Durso pose a substantial

  danger to the community.      Each defendant is affiliated with a

  violent criminal enterprise and, with the exception of

  Castellano, has engaged in violence, planned violence, possessed

  firearms for the purpose of engaging in violence, or threatened

  violence.    As discussed more specifically below, each of the

  relevant considerations under the Bail Reform Act strongly favors

  detention here.

              1.     Nature and Circumstances of the Crimes Charged

              First, with the exception of Castellano, each of the

  defendants for whom the government seeks detention is charged

  with crimes of violence under the relevant provisions of the Bail

  Reform Act.      See Ciccone, 312 F.3d at 542 (citing 18 U.S.C.

  §§ 3156(a)(4)(A), (B)) (Bail Reform Act defines a “crime of

  violence” as an offense that has as one of its elements the

  “attempted use, or threatened use of physical force against the

  person or property of another,” or “any other offense that is a

  felony and that, by its nature, involves a substantial risk that

  physical force against the person or property of another may be

  used in the course of committing the offense”); Chimurenga, 760


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  F.2d at 404 (conspiracy to commit a crime of violence is a crime

  of violence for purposes of the Bail Reform Act).

                 Furthermore, one of the charges against Castellazzo,

  Favuzza, Anthony Russo, Savarese and Sessa – possession of a

  firearm in furtherance of racketeering conspiracy (Counts Thirty,

  Fifty-Nine and Sixty)8 – carries a statutory presumption against

  bail.       See 18 U.S.C. § 3142(e).    The rebuttable presumption

  shifts the burden of production to the defendant.           See Martir,

  782 F.2d at 1144.      Moreover, even if the defendant satisfies this

  burden, the court should continue to give some weight to the

  presumption, “keeping in mind that Congress has found that these

  offenders pose special risks” and that “a strong probability

  arises that no form of conditional release” will adequately

  protect the community.      Id. (applying standard with regard to the

  presumption of flight) (citation and internal quotation marks

  omitted).

                 2.   History and Characteristics of the Defendants

                 The defendants’ history and characteristics also

  clearly favor detention.




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            The Second Circuit has held that “where the government
  proves (1) the commission of at least two acts of racketeering
  and (2) at least two of those acts qualify as ‘crime[s] of
  violence’ under [18 U.S.C.] § 924(c), a [18 U.S.C.] § 1962
  conviction serves as a predicate for a conviction under
  § 924(c).” United States v. Ivezaj, 568 F.3d 88, 96 (2d Cir.
  2009).

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                       a.   Andrew Russo

               As noted above, defendant Andrew Russo is currently the

  street boss of the Colombo family, a violent criminal enterprise,

  and is charged with, among other crimes, racketeering conspiracy,

  including extortion conspiracy and loansharking as predicate

  acts, which constitutes a crime of violence.          Notably, in his

  capacity as the street boss of the Colombo family, Andrew Russo

  has required Colombo family members to obtain approval from the

  Colombo family administration regarding all decisions involving

  the affairs of the Colombo family.        Furthermore, Andrew Russo has

  numerous capable individuals to carry out violent crimes at his

  direction.    For example, on one consensual recording, Anthony

  Russo, one of Andrew Russo’s most reliable captains, said:

               Anthony Russo: I haven’t been anywhere.
                              Every time I turn around,
                              there’s a problem I gotta go
                              handle. Why do I have to
                              handle?

               CW-1:             Why do you gotta go all the
                                 time?

               Anthony Russo: I don’t know, the guy [Andrew
                              Russo] wants me to go.   I’m
                              gonna go to jail.

  Anthony Russo also explained the requirements set by Andrew Russo

  to become an inducted member of the Colombo family: “First, he’s

  gotta be capable in here [i.e., his head].         And he’s gotta be

  capable to do this [i.e., murder].        They gotta be capable to do

  time [i.e., jail time].       They gotta be capable of everything.”

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              Moreover, Andrew Russo has made clear that he will not

  hesitate to personally engage in violence.         For example, on one

  consensual recording, Andrew Russo commented, “I don’t hesitate,

  I’ve never hesitated” to hurt an individual if the individual

  stepped out of line.      He has also made clear that he has no

  intention of disassociating himself from the Colombo family or La

  Cosa Nostra.    He stated, “I can’t walk away . . . .         I can’t

  rest.”

              In addition, Andrew Russo has prior convictions for

  various felony offenses, including bribery, witness tampering and

  racketeering.    Notably, Andrew Russo was released from a term of

  supervised release on or about March 22, 2010, and was shortly

  thereafter appointed as the street boss of the Colombo family.

                    b.   Benjamin Castellazzo

              Defendant Castellazzo currently holds the position of

  the acting underboss of the Colombo family, is charged with

  extortion, loansharking, and possession of a firearm, all crimes

  of violence.    Additionally, Castellazzo has prior convictions

  for, among other crimes, extortion and loansharking.

                    c.   Richard Fusco

              Defendant Fusco currently holds the position of the

  consigliere of the Colombo family.        He is charged with extortion

  conspiracy, which constitutes a crime of violence.           Fusco has

  prior convictions for racketeering and fraud.

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                    d.   Dennis Delucia

              Defendant Delucia is a captain in the Colombo family.

  He is charged with extortion and extortion conspiracy, which

  constitute crimes of violence.       He has prior convictions for,

  among other crimes, extortion and extortion conspiracy.

                    e.   Reynold Maragni

              Defendant Maragni is a captain in the Colombo family.

  He is charged with extortion and multiple conspiracies to use

  extortionate means to collect extensions of credit, which

  constitute crimes of violence.       In addition, Maragni is charged

  with money laundering, a bribery scheme and a conspiracy to

  distribute narcotics.      In addition to the crimes set forth above

  where Maragni has solicited coconspirators to engage in acts of

  violence, Maragni asked CW-1 to assault an individual who

  disrespected a relative of the official underboss Genarro

  Langella.    Specifically, Maragni asked CW-1 to threaten an

  individual with bodily harm if the individual further

  disrespected the relative.

              Maragni also has a prior felony conviction for

  racketeering.

                    f.   Anthony Russo

              In January 2009, while Anthony Russo was serving a term

  of supervised release, he was inducted into the Colombo family

  and was promoted to acting captain in June 2010.          He is charged

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  with murder, extortion, extortion conspiracy, loansharking,

  loansharking conspiracy and firearms possession, which constitute

  crimes of violence.      Indeed, on one consensual recording, Anthony

  Russo told CW-1 that he was carrying “a pistol.”

              As noted above, Anthony Russo is captured discussing

  his threats and acts of violence during numerous recorded

  conversations.     In addition, Anthony Russo has made numerous

  other comments, captured on consensual recordings, evidencing his

  willingness to commit violence.        He once stated to CW-1 that they

  were “the only guys willing to go to war.”         On another occasion,

  he threatened that he was going to hit a debtor in the head with

  a pipe.

              On consensual recordings, Anthony Russo has also made

  clear the harm he would inflict on any individuals determined to

  be cooperating witnesses.       For example, on a consensual recording

  made by CW-1 in December 2010, Anthony Russo observed that there

  was a “rat real close to us” and stated that he wanted to find

  the individual and “chop his head off.”

              Anthony Russo has a prior conviction for racketeering

  conspiracy.

                    g.   Daniel Capaldo

              In January 2009, while Capaldo was serving a term of

  supervised release, Capaldo was inducted into the Colombo family.

  Capaldo is charged with loansharking offenses, which are crimes


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  of violence.    Notably, he committed at least one of the crimes

  charged while he was serving a term of supervised release.            In

  addition, Capaldo recently pleaded guilty to racketeering

  conspiracy in connection with conduct he committed while on

  supervised release.

                    h.   Emanuele Favuzza

              In January 2009, Favuzza was inducted into the Colombo

  family.   Favuzza is charged with racketeering conspiracy,

  including loansharking offenses as predicate acts, and firearms

  possession in connection with racketeering conspiracy.            Notably,

  Favuzza committed one of the charged crimes while he was serving

  a term of probation.

                    i.   Joseph Savarese

              Joseph Savarese was inducted into the Colombo family in

  January 2009, while he was serving a federal sentence in a

  halfway house.     Savarese also admitted to CW-1, during a

  consensually-recorded conversation, that he had wanted to

  participate in a robbery while he was in the halfway house, but

  could not in light of his curfew:9

              When I was in the halfway house, Gaspar
              [Marciante] came to meet me at the Post
              [where Savarese was employed], telling me,
              “Me [Marciante] and Carmine [Carini] are
              going to do a fuckin’ score tomorrow if you


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            The individuals who asked Savarese to participate were
  later charged in the Eastern District of New York with a series
  of robberies.

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              wanna come.” I said, “I’m in the halfway
              house. I can’t leave. How am I gonna get
              out?” . . . I wanted to go.

              Savarese is charged with, among other crimes,

  racketeering conspiracy, including robbery conspiracy, extortion,

  loansharking and narcotics distribution as predicate acts, as

  well as brandishing a firearm.       Savarese has a prior conviction

  for racketeering conspiracy in connection with Savarese’s

  participation in the Colombo family war, and is currently serving

  a term of supervised release.       Notably, Savarese committed all of

  the charged crimes while he was serving a term of supervised

  release.

                    j.   Ralph Scopo, Jr.

              Ralph Scopo, Jr., is an inducted member of the Colombo

  family and has a history of corruptly influencing the affairs of

  Local 6A (the very union he is charged with extorting).            Scopo

  also has a lengthy criminal history, including a 2006 conviction

  for making an extortionate extension of credit, for which he

  received a sentence of time served and a three-year term of

  supervised release.      Notably, Scopo committed the charged

  racketeering conspiracy while he was serving this term of

  supervised release.

                    k.   Ilario Sessa

              Sessa is a long-time associate of the Colombo family

  and as detailed above was scheduled to become an inducted member


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  of the family in December 2010.        Sessa is charged with

  racketeering conspiracy, including extortion and loansharking as

  predicate acts, and possession of a firearm in connection with

  racketeering conspiracy.      In a consensual recording made in

  December 2010, Sessa advised Anthony Russo and CW-1 that he

  “always” carried a knife.

              As Sessa has admitted in consensual recordings, he has

  two prior felony convictions, both of which relate to his

  affiliation with the Colombo family.        In December 2008, Sessa was

  arrested for a violation of supervised release, to which he later

  pleaded guilty.     After serving a five-month term of

  incarceration, Sessa was released in July 2009 and quickly

  resumed committing crimes in connection with the Colombo family

  in the hopes of fulfilling his well-known goal of becoming a

  soldier in the Colombo family.

                    l.   Michael Castellano

              Castellano is an associate of the Colombo family.

  Castellano is charged with racketeering conspiracy, including

  fraud as predicate acts, and multiple counts of fraud.            Notably,

  Castellano has a previous conviction for fraud.          While Castellano

  was released on bail in connection with his previous arrest,

  Castellano committed another act of fraud.




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                    m.   Giuseppe Destefano

              Destefano is an associate of the Colombo family.

  Destefano is charged with, among other crimes, racketeering

  conspiracy, including extortion and loansharking as predicate

  acts, and possession of a firearm after having been convicted of

  a felony.    Destefano has a prior felony conviction for

  loansharking.

                    n.   Anthony Durso

              Anthony Durso is an associate of the Colombo family.

  Durso is charged with participating in loansharking, a crime of

  violence.    In the charged offense, Durso and Sessa, with the aid

  of a knife, assaulted a loanshark victim.

              Sessa has described Durso as his most trusted associate

  and has noted that Colombo family member Savarese “loves” Durso.

  Among other criminal errands, Durso drove Sessa to a meeting with

  Favuzza and Castellazzo to retrieve the firearm that was to be

  used in Sessa’s induction ceremony and maintained possession of

  the firearm.

                    o.   Scott Fappiano

              Fappiano is an associate of the Colombo family.           He is

  has a prior felony conviction for reckless endangerment and is

  currently serving a term of probation.         Fappiano is charged with,

  among other crimes, racketeering conspiracy, including a robbery

  conspiracy and loansharking as predicate acts.          Notably, he


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  committed the charged crimes while serving a term of probation.

  In a consensual-recorded conversation, Fappiano also admitted

  that he gave tips about potential robbery targets to a crew of

  individuals committing home invasions.         He further admitted that

  he had stored some of the tools used in those robberies, but

  destroyed the evidence after those individuals were arrested.

              3.    Seriousness of Danger Posed by
                    the Defendants’ Release

              The seriousness of the danger posed by the defendants’

  release cannot be underestimated in light of their affiliation

  with the Colombo family, a violent criminal enterprise, and their

  involvement in crimes of violence and/or possession of weapons.

  As noted above, courts in this circuit have recognized that when

  organized crime defendants, such as the defendants in this case,

  are charged with employing violent conduct, the risk of continued

  violent conduct is substantial and justifies detention.            See

  Salerno, 631 F. Supp. at 1364.

              Moreover, a defendant poses a danger to the community

  not only when he commits acts of violence, but when he is likely

  to commit non-violent crimes that harm the community.           Here,

  beyond the crimes of violence described above, several of the

  defendants are charged with engaging in other crimes that are a

  detriment to the community, including narcotics distribution.             In

  addition, many of the defendants are charged with crimes that

  they committed while serving another sentence, or while on

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  supervised release, amply demonstrating their disregard for court

  orders and a high risk that they will continue to commit crimes

  if released pending trial.

              4.    Evidence of the Defendants’ Guilt

              As discussed above, the evidence of the defendants’

  guilt is exceedingly strong.       The government intends to prove the

  defendants’ guilt at trial through the testimony of numerous

  witnesses, including cooperating witnesses, many of whom were

  once the defendants’ co-conspirators.         In addition, the

  defendants were intercepted on wiretaps and hundreds of hours of

  consensual recordings discussing charged crimes.          Physical and

  documentary evidence, such as phone records, and surveillance

  evidence underscore the defendants’ guilt.

                                *           *          *

              In sum, in considering each of four relevant

  “detention” factors, the aforementioned defendants are a danger

  to the community and should be detained.

        B.    The Defendants Constitute a Risk of Flight

              The aforementioned defendants also constitute a risk of

  flight.    On the current charges, each defendant faces significant

  jail time, as detailed below:

              Andrew Russo:                 Up to 60 years’ imprisonment

              Daniel Capaldo:               Up to 100 years’ imprisonment

              Michael Castellano:           Up to 120 years’ imprisonment


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              Benjamin Castellazzo:         Up to life imprisonment

              Dennis Delucia:               Up to 45 years’ imprisonment

              Giuseppe Destefano:           Up to 110 years’ imprisonment

              Anthony Durso:                Up to 40 years’ imprisonment

              Scott Fappiano:               Up to 60 years’ imprisonment

              Emanuele Favuzza:             Up to life imprisonment

              Richard Fusco:                Up to 20 years’ imprisonment

              Reynold Maragni:              Up to 115 years’ imprisonment

              Anthony Russo:                Up to life imprisonment

              Joseph Savarese:              Up to life imprisonment

              Ralph Scopo, Jr.:             Up to 100 years’ imprisonment

              Ilario Sessa:                 Up to life imprisonment

              The significant sentences faced by these defendants

  give them a substantial incentive to flee.         See United States v.

  Dodge, 846 F. Supp. 181, 184-85 (D. Conn. 1994) (possibility of a

  “severe sentence” heightens the risk of flight).          In addition,

  defendants Andrew Russo, Capaldo, Castellano, Castellazzo,

  Delucia, Destefano, Fappiano, Favuzza, Fusco, Maragni, Anthony

  Russo, Savarese, Scopo and Sessa have also maintained their

  membership in or association with the Colombo family while

  serving terms of probation or supervised release.           Furthermore,

  the defendants Capaldo, Fappiano, Favuzza, Savarese, Scopo and

  Sessa also committed the charged crimes while serving terms of

  probation or supervised release.


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              Moreover, defendant Castellano has a history of

  committing offense involving dishonesty, including the use of

  false identification documents.        He thus cannot be trusted to

  abide by release conditions.       See United States v. Hollender, 162

  F. Supp. 2d 261, 265-66 (S.D.N.Y. 2001) (a defendant’s ability to

  flee, in light of involvement in “crimes the nature of which

  involve deception . . . [and] that those deceptions are alleged

  to have included the use of false and fictitious identities,”

  supported a finding that the defendant was a flight risk).

                                  CONCLUSION

              For the reasons set forth above, the government

  respectfully requests that the Court enter permanent orders of

  detention with respect to defendants Andrew Russo, Benjamin

  Castellazzo, Richard Fusco, Dennis Delucia, Reynold Maragni,

  Anthony Russo, Daniel Capaldo, Emanuele Favuzza, Joseph Savarese,




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  Ralph Scopo, Jr., Ilario Sessa, Michael Castellano, Giuseppe

  Destefano, Anthony Durso and Scott Fappiano.

  Dated:      Brooklyn, New York
              January 20, 2011

                                            Respectfully submitted,

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